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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


 WhatsApp Inc., et al.                                  CASE No C 19-cv-07123-PJH


                               Plaintiff(s)
                                                        ADR CERTIFICATION BY
 V.
                                                        PARTIES AND COUNSEL
 NSO Group Technologies, et al.,
                               Defendant(s)

Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
she has:

      1) Read the handbook entitled "Alternative Dispute Resolution Proce� Handbook"
         (available at cand.uscourts.gov/adr).                             /
      2) Discussed with each other the available dispute resolution OP, r6n provided by the Court
         and private entities; and
      3) Considered whether this case might benefit from any o
         options.
 Date:May 8, 2011

 Date: May 11, 2020                                                  /s/Joseph N. Akrotirianakis
                                                                           Attorney

Counsel further certifies that he or she has discussed the selection of an ADR process with
counsel for the other parties to the case. Based on that discussion, the parties:
      □   intend to stipulate to an ADR process

      l!ll prefer to discuss ADR selection with the Assigned Judge at the case management
           conference


       Date: May 11, 2020                                           /s/Joseph N. Akrotirianakis
                                                                             Attorney




  Important! E-file this form in ECF using event name: "ADR Certification (ADR LR 3-5 b) of Discussion of ADR
  Options."



 FormADR-Cert rev. 1-15-2019
